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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



United States of America,
                                                        Crim. No. 22-134 (MJD/BRT)
                     Plaintiff,

v.
                                                          SCHEDULING ORDER
Doran Tavlin (1);
David Gantman (3);

                     Defendants.



       An indictment was filed on June 30, 2022 in this matter (Doc. No. 1.) Defendant

Tavlin was arraigned on July 6, 2022. (Doc. No. 9.) Defendant Gantman will be

arraigned at the criminal motions hearing set for August 24, 2022. If Mr. Gantman seeks

an earlier arraignment date, please contact Chambers of the undersigned.

       Pursuant to the Due Process Protections Act, the Court confirms the United

States’ obligation to disclose to the defendant all exculpatory evidence- that is, evidence

that favors the defendant or casts doubt on the United States’ case, as required by Brady

v. Maryland, 373 U.S. 83 (1963) and its progeny, and ORDERS the United States to do

so. Failure to do so in a timely manner may result in consequences, including, but not

limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,

contempt proceedings, disciplinary action, or sanctions by the Court.

       Pursuant to Local Rule 12.1 (copy attached), IT IS FURTHER HEREBY

ORDERED that:
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       1.      The government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by July 15, 2022. D. Minn. LR 12.1(a)(1). In order to avoid the

need for a recess of the motions hearing, the government is requested to make, by July

15, 2022, all disclosures which will be required by Fed. R. Crim. P. 26.2 and 12(h).

       2.      Defendants must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by July 22, 2022. D. Minn. LR 12.1(a)(2).

       3.      All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before July 29, 2022. 1 D.

Minn. LR 12.1(c)(1). Counsel are advised that Magistrate Judge Thorson does not

require any courtesy copies related to pretrial motions. Counsel must electronically

file a letter on or before July 29, 2022 if no motions will be filed and there is no need

for hearing.

       4.      All responses to motions must be filed by August 12, 2022. D. Minn. LR

12.1(c)(2).

       5.      Any Notice of Intent to Call Witnesses must be filed by August 12, 2022.

D. Minn. LR. 12.1(c)(3)(A).

       6.      Any Responsive Notice of Intent to Call Witnesses must be filed August

15, 2022. D. Minn. LR 12.1(c)(3)(B).




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       “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must
confer with the responding party. The parties must attempt in good faith to clarify and
narrow the issues in dispute.” D. Minn. LR 12.1(b).
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      7.     A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

             a.     The government makes timely disclosures and Defendant identifies
                    in the motions particularized matters for which an evidentiary
                    hearing is necessary; or

             b.     Oral argument is requested by either party in its motion, objection or
                    response pleadings.

      8.     In the event motions a hearing is required, the hearing will be set for

August 24, 2022, at 9:00 a.m. in Courtroom 3C, before Magistrate Judge Becky R.

Thorson.

      9.     TRIAL

             a.     IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT:

      the following trial and trial-related dates are:

             All voir dire questions, jury instructions, and trial related motions

(including motions in limine) must be submitted to District Judge Michael J. Davis on or

before August 29, 2022.

             This case shall commence trial on September 12, 2022, at 9:00 a.m.

before District Judge Michael J. Davis in Courtroom 13E, Diane E. Murphy U.S.

Courthouse, 300 South Fourth Street, MINNEAPOLIS, Minnesota.

             b.     IF PRETRIAL MOTIONS ARE FILED, the trial date, and

other related dates, will be rescheduled following the ruling on pretrial motions.

Counsel must contact the Courtroom Deputy for District Judge Michael J. Davis to

confirm the new trial date.

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Dated: July 8, 2022                s/ Becky R. Thorson
                                   BECKY R. THORSON
                                   United States Magistrate Judge




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